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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA

(1)L. G., an individual                )
               Plaintiff,              )
v.                                                         -306-RAW
                                       ) Case No. CIV 2020_____
                                       )
(1) STATE OF OKLAHOMA EX REL           )
OKLAHOMA DEPARTMENT OF                 )
CORRECTIONS,                           )
(2) CHRISTOPHER REDEAGLE, individually )
(3) SHARON MCCOY, individually         )
(4) JOE ALLBAUGH, Individually         )
(5) PENNY LEWIS, Individually          )
(6) RABEKAH MOONEYHAM, individually )
(7) HEATHER CARLSON, individually      )
(8) BOARD OF CORRECTIONS               )
           Defendants                  )

                                                COMPLAINT

           COMES NOW, L. G.,1 individually and for her Complaint and against the

listed Defendants alleges and states as follows:

                                                   PARTIES

    1. Plaintiff L.G. was incarcerated in the Eddie Warrior prison facility, in

         Muskogee Oklahoma, for a dui charge, at all relevant times, in late 2018-

         2019.

    2. Defendant Oklahoma Department of Corrections (ODOC) is a state agency

         tasked with housing and rehabilitating inmates, and maintains Eddie Warrior

         correctional facility in Muskogee where L.G. was an inmate. ODOC created




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    Due to the stigmatization of sexual assault, Plaintiff asks that her initials be used throughout this matter.
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   and published policies and procedures for the protection of inmates, inter

   alia.

3. Defendant Deputy Warden RedEagle was a correctional officer at Eddie

   Warrior at all relevant times and a resident of Muskogee County.          The

   Muskogee DA has charged RedEagle with lewd molestation of L.G.

4. Defendant Sharon McCoy was the warden supervising Defendant RedEagle,

   personally responsible for enforcing compliance with specific policies

   relevant to this matter, and overseeing him as his supervisor, at Eddie

   Warrior.

5. Defendant Joe Allbaugh is the executive director of the Oklahoma

   Department of Corrections, personally tasked with implementation of

   specific policies relevant to this matter.

6. Defendants Lewis, Mooneyham, and Carlson, comprise of the Compliance

   Unit employees for the Oklahoma Department of Corrections, that unit being

   tasked with enforcement of specific policies relevant to this matter.

7. Defendant Board is a group of individuals, who regularly meet, and approve

   expenditures and protocols for the Oklahoma Department of Corrections, and

   were specifically tasked with drafting policies and procedures and overseeing

   the enforcement and compliance of specific policies relevant to this matter.

                       JURISDICTION AND VENUE

8. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331, as

   factual claims and allegations asserted herein arose under 42 U.S.C. §1983.


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9. Further, this Court has subject matter jurisdiction in that Plaintiffs’ rights

   guaranteed under the Fourth, Eighth, and Fourteenth Amendments to the

   United States Constitution were violated by Defendants.

10. All factual claims and allegations asserted herein arose entirely within the

   Eastern District of Oklahoma and venue is proper in this district.

11. Plaintiff is entitled to attorney fees and costs pursuant 42 U.S.C. §1988, as

   this action is brought to enforce provisions of 42 U.S.C. §1983, and including

   injunctive relief, always available against any Defendant. After discovery,

   Plaintiff also seeks declaratory judgment that certain Defendants insurance

   policies create statutory liability above and beyond state Tort Claim limits.

   Plaintiff also seeks declaratory judgment that Defendants’ acts and omissions

   are unconstitutional and/or unlawful, and contrary to their administratively

   adopted policies and procedures, and/or likely to lead to known constitutional

   violations of persons in Plaintiff’s position.

                    RELEVANT FACTS AND CONCERNS

12. Plaintiff L.G. had a known constitutional right not to be raped by a

   correctional officer. See Keith v. Koerner (Keith II), 843 F.3d 833, 837 (10th

   Cir. 2016) (“[A]n inmate has a constitutional right to be secure in her bodily

   integrity and free from attack by prison guards.” (alteration in original)

   (quoting Hovater v. Robinson, 1 F.3d 1063, 1068 (10th Cir. 1993))).

13. Defendants, each of them, knew of L.G.’s above rights, as each Defendant

   participated in drafting, acknowledgeing, discussing, and had a duty to


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   enforce policies and procedures drafted to prevent female inmates from being

   violated.

14. Defendant Allbaugh is the agency Director for ODOC. Policy P-040100 is

   titled “Security Standards” and states that the ODOC “provides security at all

   institutions… security standards are established to protect … inmates.” The

   agency director, Defendant Allbaugh, per section II of the policy, “is

   responsible for compliance with this policy.” (emphasis added).

15. Inter alia, Policy P-040100 requires “compliance monitoring of internal and

   external security” including “inventory and control of: a) Keys ….”

16. ODOC Policy P-040100 also required security standards at Eddie Warrior for

   “transportation of inmates…post orders to include staff review and the

   recording of routine and unusual events in post logs… control of

   inmate/offender movement… provisions for facility staffing to ensure 24

   hour continuous coverage.”      Defendants failed to maintain, enforce, and

   direct compliance with this policy, resulting in constitutional violation of

   Plaintiff’s person.    Defendant Allbaugh specifically is listed as directly

   responsible for “compliance” with this policy, and Defendant McCoy was

   also responsible for review, supervision, and direct enforcement thereof as

   the head of the facility.

17. Policy P-010200 states that the Defendant Oklahoma Board of Corrections

   will “establish and maintain” written policies and procedures for ODOC.




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   “The agency director [Defendant Allbaugh] is responsible for compliance

   with this policy,” as stated in section VI of the policy.

18. On its website, the ODOC indicates that its “Auditing and Compliance Unit”

   “shall be responsible for the issuance and review of policies and procedures

   issued by the Board of Corrections/Director of the Oklahoma Department of

   Corrections.” Thus, Defendants Lewis, Mooneyham and Carlson were

   responsible for both issuance and review of policies regarding female

   inmates.

19. On its website, ODOC states that the Defendant Board is “the governing

   body for the Department…[m]embers are responsible for establishing and

   reviewing policies, appointing the Director and confirming the appointment

   of wardens or unit heads.” As such, the Defendant Board was proximately

   responsible for creating policies and enforcing policies involving Defendants

   McCoy, Lewis, Mooneyham, and Carlson, which proximately affected the

   oversight of Defendant RedEagle and his ability to have violated Plaintiff’s

   constitutional rights, under the Fourth, Eighth, and Fourteenth Amendments.

20. Under ODOC Policy P 01200 (attachment “A”), the Defendant Board of

   Corrections is to provide “effective oversight” and under Section “D”

   “essential duties,” paragraph “10” to “establish policies.”

21. In 2018, the consulting firm of Alvarez & Marsal published a comprehensive

   “Efficiency Review” of ODOC, visiting facilities and conducting anonymous

   surveys with employees. The 2018 results indicate that Defendants failed to


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   have proper staffing, proper procedures to track inmates, that the current

   software system is outdated, and facilities are “dangerous to operate.”

22. In light of such information being provided to all Defendants in 2018,

   Defendants failed to implement new policies and action plans to remedy

   existing identified problems when L.G. became an inmate, and failed to

   enforce existing specific policies and procedures designed to protect women

   such as L.G., turning a blind eye and deaf ear to the continued likelihood of

   female inmates having their persons violated by guards, a known and obvious

   constitutional violation. Defendants proceeded with deliberate indifference

   to the likelihood of constitutional violations to Plaintiff.

23. L.G. was approached by Defendant RedEagle, a large and imposing person

   and a correctional officer, who inappropriately started grooming Plaintiff.

   RedEagle routinely demanded that L.G. do personal work for him, resulting

   in repeated “unusual events” such as RedEagle calling in L.G. for roll call on

   her behalf, when he had ordered her to be with him. The designated persons

   to enforce Policy P-040100, Defendants Allbaugh and McCoy, failed to

   enforce compliance with it, resulting in RedEagle’s violations of L.G.

24. Defendant McCoy was absent often, so she a) failed to personally supervise

   Defendant RedEagle as her subordinate and b) failed to enforce policies such

   as OP 040103 designed to protect female inmates and create accountability.

25. Under policy OP-040103, “a method shall be establish to record non-routine

   incidents,” including “contraband” and recording of such events and


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   pertinent information involving inmates. It states “Supervisors are expected

   to review and sign the post log… at minimum, once each shift” and to keep

   track of “unusual occurrences.” The policy further states that “inmates will

   not have access to any control room.” The facility head (Defendant McCoy)

   is indicated in the policy as “responsible for compliance.”

26. Due to her acts and omissions, Defendant McCoy’s lack of presence and

   failure to observe the above policies allowed RedEagle to harm Plaintiff.

27. Defendant RedEagle was able to use keys and manipulate the storage area he

   was in charge of, without any compliance and monitoring, to direct Plaintiff

   to join him there, where he was able to take advantage of her. Thus, policy

   P-040100 was not complied with, nor was it monitored, by either Defendant

   McCoy, RedEagle’s supervisor, nor the other listed Defendants, also

   responsible for enforcement, compliance, and review of such policy. As

   such, Defendant RedEagle was able to repeatedly take advantage of Plaintiff

   L.G.

28. As a result of Defendants’ failure to enforce existing policies, and as a result

   of Defendant Board’s failure to create new plans of action and new policies

   after learning of deficiencies in 2018, Defendant RedEagle was able to

   pressure Plaintiff into inappropriate situations, requiring her to wear panties

   for days at a time that he kept and brought into the facility as contraband

   (violation of contraband policy cited herein), and pressuring Plaintiff into




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   sexual contact in early 2019. Plaintiff L.G. properly served a Notice of Tort

   Claim prior to the end of 2019, per the OGTCA.

29. Defendant Deputy Warden RedEagle is also charged in Muskogee County

   with bringing contraband into the prison, including panties he made L.G.

   wear for extended periods of time, then kept for himself to “sniff.” If the

   contraband policy had been observed by Defendant Warden McCoy, and

   monitored with respect to Defendant Deputy Warden RedEagle, such policy

   or any of the other policies (ie. keeping track of keys and movement of

   female inmates), properly enforced, could have prevented constitutional

   violations of L.G.’s person.

30. Rapes have been occurring in Oklahoma for many years in the prison system,

   with corrections officers inappropriately using their position of power to

   sexually assault female inmates.        Not only is it well known by any

   “reasonable correctional officer” who has finished training that he is not to

   have sexual relations with an inmate, but that such act is a felony, punishable

   at law.

31. The U.S. Department of Justice confirmed that ODOC facility Mabel Bassett

   had the highest prison rape rate in the United States.                    (See

   https://www.prisonlegalnews.org/news/2016/mar/7/oklahomas-mabel-

   bassett-correctional-center-has-highest-prison-rape-rate/, visited August 12,

   2020).




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32. The US Department of Justice found that 3.5 percent of the women surveyed

   in the Oklahoma prison had been sexually assaulted by prison staff, a number

   higher than the national average. Id.

33. Many lawsuits have been previously filed against numerous prison guards

   who have raped female inmates, placing all Defendants on notice of the

   impropriety of sexual assault of a female inmate. Yet the problem persists,

   year after year.

34. Defendants knew that failing to properly protect female inmates        would

   continue to result in female prisoners being raped, in violation of their known

   rights. Defendants’ failures and omissions regarding creation of new policies

   to protect female inmates and enforcing existing policies proximately

   allowed Defendant RedEagle to violate Plaintiff’s person.

35. Each Defendant is individually liable under 42 US 1983 for proximately

   causing violations of Plaintiff’s right to bodily integrity under the Fourth

   Amendment and the Eighth Amendment.

36. Defendant McCoy is proximately responsible for negligent supervision of

   Defendant Deputy RedEagle, as McCoy was his Warden, and supervisor.

37. All Defendants are proximately separately liable for “Bosh” causes of action,

   for violations of state constitional rights of Plaintiff, as well as negligence

   within the scope of employment. Bosh v. Cherokee Co., 2013 OK 9. Under

   Article 2 Section 30 of the Oklahoma Constitution, Plaintiff is entitled to a

   private cause of action for excessive force under Bosh, supra, ¶¶ 32-33.


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       Please take notice of the gargantuan physique and strength of Defendant

       RedEagle.

    38. Scope of employment is for a jury to determine in Oklahoma, so the issue of

       employer ODOC’s liability under the legal theories proposed,2 including

       respondeat superior survives dismissal. Nail v. Henrietta, 1996 OK 12.

    39. Plaintiff wrote a letter on March 11, 2020, offering to explain to Defendant

       ODOC how Defendant RedEagle was able to violate her person, so that

       ODOC could craft policies and procedures to protect other female inmates.

    40. All Defendants (except RedEagle) turned a blind eye to Plaintiff’s offer to

       craft policies to protect women and explain how RedEagle accomplished his

       outrageous actions to violate her.

    41. Defendants are proximately responsible per 42 USC 1983 for violations of

       Plaintiff’s rights guaranteed under the Fourteenth Amendment, for deliberate

       indifference, and for establishing a custom and practice of indifference

       toward protecting females such as Plaintiff, espousing a course of action

       failing to create protocols and failing to enforce existing protocols, for the

       safety of Plaintiff. Defendants’ course of conduct and pattern is likely to

       result in further constitutional violations of other female inmates.




2
 Except for 42 USC 1983 – which has been construed by this Court and others as generally unable to
create respondeat superior liability. It should be noted that in unique circumstances, federal courts have
awarded punitive damages against a public employer if its employee acts are egregious, per 42 USC 1983.


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42. By letter dated March 26, 2020, from the Risk Management Department of

   the Oklahoma Office of Management and Enterprise Services, the timely

   filed notice of tort claim by L.G. was denied.

43. In that March 26, 2020 letter was the clear rejection of L.G.’s offer to meet

   with Defendants and explain the failures in policy enforcement and the lack

   of existing protocols that could have protected her and that could protect

   other females. This case is timely filed within 180 days of that letter.

44. Under information and belief, ODOC, its Board, and/or Director Allbaugh,

   have taken out policies of insurance, securing policies with limits above and

   beyond the Oklahoma Governmental Tort Claims Act limits of liability.

45. Recently, the Oklahoma Supreme Court ruled against ODOC, in a case where

   Defendant Allbaugh was sued in his official capacity, proving ODOC may be

   sued in state or federal court. See Bd of County Commissioners v. Oklahoma

   Dept of Corrections, Joe Allbaugh in his official capacity as Director, and

   Board of Corrections (Okla. Co. Case CV-2017-684), available on

   OSCN.net.

46. That case, in the immediately preceding paragraph, involved a declaratory

   judgment action against ODOC claiming it owed money to Plaintiffs. The

   Oklahoma Supreme Court ruled that ODOC did in fact owe such funds.

47. Plaintiff similarly request declaratory judgment that any Defendant who has

   taken out an insurance policy or bond, is therefore subject to jury

   determination of liability up to the amount of that policy per Oklahoma law.


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   See e.g. 57 OS 504(5). It is expected such information would be captured

   through discovery.

48. Plaintiff also seeks injunction at the beginning of this case, prohibiting the

   Defendants from erasing any recordings or documents regarding this matter.

49. Jurisdictional discovery is necessary to prove the viability of Plaintiff’s

   claims under 42 USC 1983, for injunction sought, and for declaratory

   judgment relief.

50. Plaintiff seeks preliminary injunctive relief in this case, and a protective

   order in order to receive and review one administrative regulation that

   Defendant ODOC refuses to make available to the public (OP-040101) and to

   determine if other individuals are identified in such policy as personally

   responsible for enforcement and compliance of any other administrative

   protocols that would have prevented the violation of L.G. to occur at the

   Eddie Warrior facility.

51. These Defendants have failed to act on their responsibilities, and proximately

   deprived Plaintiff of rights protected under the U.S. Constitution, including

   but not limited to: violation of Plaintiff’s person, under 42 USC Section

   1983.

52. Defendants have caused and/or directed and/or negligently allowed

   administrative employees under their control to violate Plaintiff’s state rights

   and fail to adhere to administrative protocols, causing violation of Plaintiffs’

   constitutionally protected rights. Defendants’ actions individually and in


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     concert did deprive Plaintiff of her rights, causing substantial damages, and

     giving rise to a cause of action in equity – permanent injunction.

 53. Under the OGTCA, the State is excluded from liability for the “[p]rovision,

     equipping, operation or maintenance of any prison.” 51 OS 155(25).

     However, Plaintiff would submit that this case arises from the individual

     Defendants failing to act in the administratively designed, structured,

     operation of the Eddie Warrior facility, by specifically failing to enforce,

     administer, and comply with, the policies described herein.

 54. Plaintiff seeks a permanent negative injunction against ODOC, the Defendant

     Board of Corrections, and the Defendants identified as personally responsible

     for abovementioned policies: requiring Defendants to adhere to, enforce,

     draft, improve, and comply with administrative policies and procedures,

     existing currently to protect female inmates, and to craft policies that should

     exist, that would have prevented L.G. from being violated at the Eddie

     Warrior facility, in Muskogee, Oklahoma.

                          JURY TRIAL REQUESTED

       All of the above stated claims and causes of action arise from and form part

of the same case and controversy and Plaintiff is entitled to and hereby requests a

jury trial as to each and every cause of action or claim asserted herein.

                             PRAYER FOR RELIEF

       Plaintiff prays for judgment as follows:

A. Actual damages in excess of seventy-five thousand dollars ($75,000.00);


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B. Compensatory damages, including, but not limited to emotional distress, mental

anguish; future medical and psychological damages; pain and suffering; Punitive

or exemplary damages.

C. Declaratory relief regarding the monetary liability of Defendants who have

insurance policies or bonds with limits above and beyond the OGTCA limit;

D. Immediate and prospective injunctive relief as appropriate (to avoid spoliation

of evidence and requiring Defendants to act according to administrative law);

F. Attorney fees, costs and such relief as the Court deems reasonable and proper.

                                  Respectfully submitted,


                                  /s/E W KELLER
                                  E.W. Keller, OBA 4918
                                  Henry Dalton, OBA# 15749
                                  KELLER, KELLER & DALTON, PC
                                  201 Robert S. Kerr, Suite 1001
                                  Oklahoma City, OK 73102
                                  Tel. 405.235.6693
                                  Fax. 405.232.3301
                                  Email: kkd.law@coxinet.net

                                  ATTORNEYS FOR PLAINTIFF L.G.
ATTORNEY LIEN CLAIMED




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